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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                       United States District Court
                                                 Southern District of Georgia
                  RAFAEL PINEDA-MOJICA,


                  Petitioner,                                                       JUDGMENT IN A CIVIL CASE


                                            V.                                    CASE NUMBER:        CV 321-017

                  WARDEN STACEY N. JONES,


                  Respondent




                     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                     has rendered its verdict.

                     Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                     rendered.

                     IT IS ORDERED AND ADJUDGED
                     that in accordance with this Court's Order dated June 1, 2021, the Report and Recommendations of

                     the U.S. Magistrate Judge is adopted as the opinion of the Court. The Respondent, Warden Stacey

                     N. Jones' Motion to Dismiss is granted and the Petitioner's 28 U.S.C. § 2441 is dismissed as moot.

                     This case stands closed.




                  June 1, 2021
                                                                                John E. Triplett, Clerk of Court
           Date                                                                 Clerk



                                                                                (By) Deputy Clerk
GAS Rev 10/2020
